
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-08-307-CV



IN RE WEST FORK PARTNERS, L.P.	RELATOR



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL &nbsp;B: &nbsp;DAUPHINOT, LIVINGSTON, and WALKER, JJ. 



DELIVERED: &nbsp;July 30, 2008 &nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




